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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                  )
 PETER P. STRZOK,                                 )
                                                  )
               Plaintiff,                         )
                                                  )       Civil Action No. 19-2367 (ABJ)
        v.                                        )
                                                  )
 ATTORNEY GENERAL MERRICK B.                      )
 GARLAND, in his official capacity, et al.,       )
                                                  )
               Defendants.                        )
                                                  )
                                                  )
                                                  )
 LISA PAGE,                                       )
                                                  )
               Plaintiff,                         )
                                                  )       Civil Action No. 19-3675 (TSC)
        v.                                        )
                                                  )
 U.S. DEPARTMENT OF JUSTICE, et al.,              )
                                                  )
               Defendants.                        )
                                                  )



                   JOINT STATUS REPORT AND MOTION TO STAY

       The parties write to inform the Court that they have reached a tentative agreement to

resolve all of both Plaintiffs’ claims under the Privacy Act, 5 U.S.C. § 552a, subject to final

approval by the Department of Justice.[1] Defendants and Mr. Strzok have not resolved Mr.

Strzok’s claims under the First and Fifth Amendments of the United States Constitution. The



[1]
  The parties in Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and Defendants U.S.
Department of Justice (“DOJ”); Federal Bureau of Investigation (“FBI”); Attorney General
Merrick Garland, in his official capacity; and FBI Director Christopher A. Wray, in his official
capacity. The parties in Civil Action No. 19-3675 (TSC) are Plaintiff Lisa Page and Defendants
DOJ and FBI.
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Parties hereby request that both cases be stayed until June 28, 2024 in order for the parties to work

to reach final written settlements.

       Defendants and Mr. Strzok will file a joint status report on or before June 28, 2024 setting

forth their positions on how to proceed with regard to the remaining claims.

Dated: May 28, 2024                           Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              MARCIA BERMAN
                                              Assistant Branch Director

                                              CHRISTOPHER R. HALL
                                              Assistant Branch Director

                                              /s/ Christopher M. Lynch
                                              MICHAEL J. GAFFNEY
                                              (D.C. Bar 1048531)
                                              BRADLEY P. HUMPHREYS
                                              (D.C. Bar 988057)
                                              JOSHUA C. ABBUHL
                                              (D.C. Bar 1044782)
                                              CHRISTOPHER M. LYNCH
                                              (D.C. Bar 1049152)
                                              Trial Attorneys, U.S. Department of Justice
                                              Civil Division, Federal Programs Branch
                                              1100 L Street, N.W.
                                              Washington, D.C. 20005
                                              Tel.: (202) 353-4537
                                              Email: christopher.m.lynch@usdoj.gov

                                              Counsel for Defendants




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                             /s/ Amy Jeffress
                             Amy Jeffress (D.C. Bar 449258)
                             Robert J. Katerberg (D.C. Bar 466325)
                             Kaitlin Konkel (D.C. Bar 1021109)
                             ARNOLD & PORTER
                             KAYE SCHOLER LLP
                             601 Massachusetts Avenue NW
                             Washington, DC 20001-3743
                             Telephone: (202) 942-5000
                             Fax: (202) 942-5999
                             Amy.Jeffress@arnoldporter.com
                             Robert.Katerberg@arnoldporter.com
                             Kaitlin.Konkel@arnoldporter.com

                             Counsel for Plaintiff Lisa Page

                             /s/ Christopher R. MacColl
                             Aitan D. Goelman (D.C. Bar 446636)
                             Christopher R. MacColl (D.C. Bar 1049153)
                             ZUCKERMAN SPAEDER LLP
                             1800 M Street NW, Suite 1000
                             Washington, DC 20036
                             Telephone: (202) 778-1800
                             AGoelman@zuckerman.com
                             CMacColl@zuckerman.com

                             Richard A. Salzman (D.C. Bar No. 422497)
                             HELLER, HURON, CHERTKOF &
                             SALZMAN PLLC
                             1010 Wayne Ave., Suite 510
                             Silver Spring, MD 20910
                             Telephone: (202) 293-8090
                             salzman@hellerhuron.com

                             Counsel for Plaintiff Peter Strzok




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